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IN THE UNITED STATES DISTRICT COURT

FOR THE WESTERN DISTRICT OF TENNESSEEQ§O, / ,04, .Q
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DA\HDIMLES, ) F/é%
)
Plaintit`f, )
)
Vs. ) N0.0441694VAn
)
QUENTIN WHITE, sr AL., )
)
Defendants. )

 

ORDER DENYING “MOTION OF STATUS AND RENDER OF DECISION”

 

On August 17, 2005, plaintiff David Biles filed a motion inquiring about the status
of this case. AS the Court issued an order disposing of the case on August 16, 2005,
plaintit`t`s motion is DENIED as moot.

lT lS SO ORDERED.

QWMA.M

JAM D. TODD
UNI D STATES DISTRICT JUDGE

/q dla/gmi 9#1/5'

DATE

This document entered on the docket sheet ln compliance

with lame 53 and!or_re (a) FRCP on _DB_';”'LQQ'__

      

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Honorable J ames Todd
US DISTRICT COURT

